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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
Vv. 99-CR-131-A(1)
MOHAMED KAID,

Defendant.

 

MEMORANDUM REGARDING THE ROLE-
IN-THE-OFFENSE ADJUSTMENT
THE UNITED STATES OF AMERICA, by its attorneys, Kathleen M.
Mehltretter, Acting United States Attorney for the Western District
of New York, and Anthony M. Bruce, Assistant United States
Attorney, hereby files its Memorandum Regarding The Role-In-The-
Offense Adjustment outlining the facts the Court should rely upon
in determining that the defendant was an organizer and/or of a

criminal activity that involved five (5) or more participants of

was otherwise extensive. (Guidelines § 3Bl.1(a)).
BACKGROUND
1. In the plea agreement, the government asserted that

Guidelines § 3Bl.1(a) applied to the offense of conviction and the
defendant reserved his right to dispute this adjustment (See Plea

Agreement at page 7), and the defendant has indeed disputed this

adjustment.

 
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THE FACTS SUPPORTING THE ADJUSTMENT

2. Attached as Exhibit A are pages 265 through 278 of Linda
Mohawk's trial testimony as it relates to defendant Mohamed Kaid.
This testimony demonstrates that the defendant was, first of all,
one of Mohawk's largest customers and was thus a major co-
conspirator, and further demonstrates that the defendant used a
veritable stable of drivers (See Exhibit A at 275-76), where Mohawk
names nine (9) drivers; 276, line 15 to 278, line 12, where Mohawk

also names Abdul Albana and herself as two more of the defendant's

drivers.) This testimony supports the adjustment under Guidelines
§ 3Bl.1(a).
DATED: Buffalo, New York, October 27, 2005.

Respectfully submitted,

KATHLEEN M. MEHLTRETTER
Acting United States Attorney

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TO: Nelson Torre, Esq.
United States Probation Department
Attn: Michael J. Quarantillo
U.S. Probation Officer

 
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THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

-V-

MOHAMED KAID,

Defendant. 99-CR-131-A(1)

 

CERTIFICATE OF SERVICE

I hereby certify that on October 27, 2005, I electronically

filed the attached Memorandum Regarding The Role-In-The-Offense

Adjustment with the Clerk of the District Court using its CM/ECF

system, which would then electronically notify the following CM/ECF

participants on this case:

Nelson S. Torre, Esq.
1220 Liberty Building
Buffalo, New York 14202

United States Probation Department
Attn: Michael Quarantillo

United States Courthouse

68 Court Street

Buffalo, New York 14202

s/LINDA F.

SWIATEK

 
 

 

 

 

 

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265
LINDA MOHAWK

“us Mr. Kaid was smuggling cigarettes for about how
long?

A. He started it early like -- like '95 until we
finished. |

Q. Till about '98?

A. Yes, around '98.

Q. So in that period of time, if I understand your

testimony, Mr. Rmzy Abdullah drove for him at least

once?
A. Yes.
Q. And over that period of time, based on your

recall, can you tell us how Many times Mr.
Abdullah, approximately how many times Mr. Abdullah
drove for Mr. Kaid? mr. Ali Kaid.

A. Rmzy Abdullah didn't drive too often, just a
couple times, like one or two times for him.

Q. In this period of time did you become
acquainted with an individual by the name of
Mohamed Kaid?

A. Yes, I did.

Q. And did there come a point in time when Mr.
Kaid came to your business?

A. Yes.

Q. Do you have a Specific recollection of that?

A. Yes, I do.

 

 

Exhibit A

 

 
 

 

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LINDA MOHAWK 266
1 Q. And first of all, can you tell us the door
2 | through which he came?
3 A. He came in the back door off of the back part
4 of the store where it opened to the lawn.
5 Q. And do you recall him Saying anything, or what
' he said once he came into the store?
A. Yes, he was --
Q. What did he say?
A. He said that his name was Jimmy, and I had
asked him -- I had asked him first if I could help
him. And he had asked one of the girls where I
was, he asked for me specifically.
Q. Asked for Linda?
A. Yes. And he came over and he -- and TI said may

I help you, and he said yes, I'd like to buy
cigarettes in volume.

Q. Did he have anything with him?

A. Yes, he did.

Q. What did he have?

A. He had a briefcase that was handcuffed to his
wrist.

Q. And what did you say when he said he wanted to
buy cigarettes in volume?

A. I told him that it was cash, cash only.

Q. And he said?

 

 

 

 

 
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LINDA MOHAWK

267

 

 

 

 

 

A. I have cash.

Q. Did you go somewhere in the -- in Roseine's at
that point in time?

A. Yes, we did.

Q. Where did you go?

A. We went to the upstairs office, where there
was -- up to where there was stock and the other
desks in the other part of the office was the big
office.

Q. Who was present in the office?

A. Ali Kaid was there, Ali Ohmar, Ali Alajji,
there was a lot of drivers there with them.

Q. But who was in the office, that's my question.
A. Rmzy Abdullah, Hamood Abdullah, they were all
riding together.

Q. In the office?

A. They were in the office along with Joanne
Waterman, Kara Johns, Cindy Jamerson, Donna
Jamerson.

Q. They were all in this office?

A. It's a big office.

Q. All right. And that's the office which you
went into with Mr. Kaia?

A. Yes.

Q. And what happened next?

 

 

 
 

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d 268
1 LINDA MOHAWK
1 A. He unhand -- undid the handcuff from the
2 briefcase and he opened it up and Spun it around
] 3 and showed me the cash.

4 Q. And did you ultimately fina out how much cash
he had in that briefcase?

A. Yes.

Q. How much was that?

A. Sixty-eight thousand, I believe it was. I'm
positive that's what it was.

Q. But would it be fair to Say that when he Opened
the briefcase, the briefcase was full of cash?

A. Yes, it was.

Oo. And the people that were in the office, the
number of individuals that you just described, were
they ina position where they could observe the
cash as well?

A. Yes.

Q. Dia he tell you about any form of
transportation that he had coming?

A. No, he didn't.

Q. Did he Say anything about needing help to load?
A. Yes, he did.

Q. Did he say why?

A. Because he ha@ been shot and he was -- and his

back was bad. He told me his back was bad, he

 

 

 

 

 

 
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LINDA MOHAWK

269

 

 

 

couldn't really --

Q. You say that Ali Ohmar and Ali Kaid were there?
A. Yes, they were.

-Q. Had they given you an order at that point in
time?

A. Yes, they did.

Q. Had they paid for it?

A. No. |

Q. Did they get their order?

A. No, they didn't.

Q. Why was that?

A. Because Mohamed Kaid bought everything in the
stock.

Q. All -- what was the figure used, sixty?

A. Sixty-eight thousand dollars he spent.

Q. All sixty-eight thousand dollars was paid over
and cigarettes were turned over at that point?

A. Yes.

Q. And Mr. Kaid and Mr. Ohmar, at that point in
time there were no cigarettes left to fill their
order?

A. Exactly.

Q. And what, if anything, did you say to them
about their orders?

A. I told them that there was no credit, that they

 

 

 

 
 

 

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LINDA MOHAWK 270
1 had to bring cash if they wanted Cigarettes,
2 Q. Did they give you an order?
3 A. They gave me one later on. It was more evening
4 time.

Q. But that same day?
A. The same day Ali Kaia came in with an order.
Q. Now, after that point in time did Jimmy - -
THE COURT: Are we in 1995? Is that -- are we
in 1995 now?
A. We're in '95,
THE COURT: Is this after -- I remember there
was a hot day in August when you met Ali Kaid?
A. Um-hum.
THE COURT: Is this after that?
A. Yes, I met Ali before tI met Jimmy.
THE COURT: You met him in August, you said.
You said it was a hot August day.
A. It was hot, August, when I met Ali?
THE COURT: Right.
A. Yes.
THE COURT: Now this other --
A. Mohamed Kaid came in Shortly after that.
THE COURT: In the month of August, September?
A. It was still hot out.

THE COURT: Okay. So it was still summer or

 

 

 

 

 

 
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LINDA MOHAWK

 

 

 

late summer.
A. Yes.

THE COURT: Before October?
A. Yes.

THE COURT: Okay.
BY MR. BRUCE:
QO. I'd like to show you -- let me help you out
with the dates a little bit. Government Exhibit
40-B. The first page, can you see a red J at the
top of 40-B?
A. Yes, I do.
Q. And who do you recognize, or does that red J
have any significance for you?
A. Yeah, that means Jimmy.
Q. Jimmy being Mohamed Kaid?
A. Yes.
Q. Now, you've been talking about August of 1995.
Would this be an order of his?
A. Yes.
Q. Now I'd like you to look at the date on this,
2-20 of '95. Do you see that?

MR. BRUCE: Perhaps you'd blow that up, Ms.
Prawel?
A. Yes, I see it.

Q. Now, based on that, can you tell us again, or

 

 

 

 
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272
LINDA MOHAWK

 

1 would you go back and tell us when this first

 

2 meeting, first of all with Ali Kaid, occurred, and
3 the first meeting with Jimmy Kaid or Mohamed Kaid?
4 A. That was -- it was hot. I know it was hot that

year.

Q. Well --

A. It was in late August.

Q. Here we have an order by Jimmy in February of
1995, which is before August of 1995.

A. Jimmy didn't place all his orders. He came --
when he got the big large cigarettes, I already had
them in stock.

Q. What I'm saying is, do you see the date of that
order?

A. Yes, I do.

Q. That's February of 1995.
A. Yes.

Q. Which is before August of 1995.

A. Yes.

Q. So based on that, could it be that you're
mistaken as to the dates?

A. Yes, that could be.'

Q. <All right. So now looking at that order,
February of 1995, can you tell us when, first of

all, Ali Kaid came into your business?

 

 

 

 

 
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LINDA MOHAWK

273

 

1 A. Would have been in '94.

2 7; Q. All right. And can you tell us when Jimmy came
into your business with this sixty-eight thousand
dollars? Was it August of '94 or '95?

A. Would have been '94.,

Q. <All right. ° So you were associated with Ali
Kaid in '94, prior to Jimmy coming in, in '94? Do
you follow my question?

A. Yes. Yes.

Q. Ali -- was it Ali Kaid placing orders with you
in 1994 before Mohamed Kaid came in and started
placing --

A. Yes, he was.

Q. All right. And you told us, I think, that the
orders -- I'm sorry, that the sixty-eight. thousand
dollar order came on a hot day.

A. Yes, it was.

Q. So based on this order of February of 1995, can
you tell us now when approximately Jimmy Kaid or
Mohamed Kaid came in and placed that sixty-eight
thousand dollar order?

A. He didn't place the order. He came in with the
money and he bought what I had in stock.

Q. All right. When did he do that?

A. He did that -- it would have been in '94 when

 

 

 

 

 
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LINDA MOHAWK
1 it was real hot, August, September.
2 Q. Somewhere in there?
-A. Somewhere in that area.
Q. And you said, I think, that because of that
taking of all that stock, Ali Ohmar and Ali Kaid's
cigarettes intended for them were cleaned out.

Yes.

And they had to place an order that same day?

A.

Q.

A. Yes, they did.
Q. Again, August or September of 1994?

A. Yes.

Q. All right. After that Sixty-eight thousand
dollar order, did Mohamed Kaid begin ordering from

you on a regular basis?

A. Yes, he did.

Q. How often?

A. He ordered every day.

Q. And do you recall the volume of his orders?

A. His orders would be like twenty-three hundred.

They got bigger as it went. He started small and
got progressively bigger.

Q. You used the figure twenty-three hundred; are
you referring here to dollars?

A. Cartons.

Q. ‘Pardon me?

 

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LINDA MOHAWK

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A. Cartons.
Q. That's what I'm trying to get at. Ana were his
orders separated out?

Yes.

Into what, Jimmy one, two, three and go forth?

Yes, they were.

A.

Q.

A.

Q. And was --
A. No, wasn't just Jimmy .

Q. Pardon me?

A. Wasn't just Jimmy.

Q. And when Jimmy placed his orders, was he using
people as drivers? Runners?

A. Yes. He had his own drivers.

Q. And do you recall any of Jimmy's drivers?

A. Yes.

Q. Why don't you tell the jury about those.

A He had -- most of his drivers were Arab, and
they were like -- I can't remember his name.

Little Shubwa, he. used to drive; Mohamea Red Panny;
Ali Abuhamra, Junior; Mohamed Odefa; Alshubili, I
don't know what Alshubili's first name was; and he
also used Rachel and Colleen, Rachel Gloss and
Colleen, he used them. Let's see, Ali Al-Fiasaly;

there was another Rmzy, but it wasn't Rmzy

Abdullah. He used a guy named Tony also, but it

 

 

 

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LINDA MOHAWK

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wasn't the same Tony either.

Q. Not the same Tony that was associated with
Aref?

A. No.

Q. Okay.

A. I don't remember any more drivers. I know

there's a lot more drivers, he changed quite a bit.
Q. Do you recall any business relationships
between Mr. Mohamed Kaid and a man by the name of
Abdul Akawi? |

A. Yeah, Abdul Akawi.

Q. What was the relationship between Mr. Kaid and
Mr. Akawi?

A. Akawi used to drive for him.

Q. Do you recall any kind of a business
relationship between Mr. Kaid, Mohamed Kaid --

A. Yes.

Q. -- and Abdul Albana?

A. Yes.

Q. What was that?

A. That was all cigarettes.

Q. And what was the relationship, as you observed
it, between Albana and Kaid? Mohamed Kaid.

A. He just drove for him.

Q. Who drove for whom?

 

 

 

 
 

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LINDA MOHAWK

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1 A. Albana drove for Mohamed Kaid.

2 Q. Now, were there times when Mr. Kaid ordered
3 from you where you actually made deliveries for
4 him?

A. Yes.
Q. Tell us about that.
A. I drove for Jimmy to Michigan and I also
delivered to him in Buffalo.
Delivered what?
Cigarettes to him in Buffalo also.

Where?

Q.

A.

Q.

A. To Gas Mart.
Q. Anywhere else?

A. No.

Q. Now, did you come to understand there was a
business relationship between Mr. Kaid and -- Mr.

Jimmy Kaid and Mohamed Abuhamra?

A. Yes.

be and from whom?

A. I understood they were partners.

Q. Dia you get that first of all from Mr. Mohamed
Kaid?

A. Yes.

Q. What, if anything, did he tell you, or what

 

Q. And what did you understand the relationship to

 

 

 

 
 

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LINDA MOHAWK .
1 happened to tell you that they were partners?
2 A. Well, I was looking at his order, and it had
3 his name on it, and it had the order broke up in
4 between one, two, three, and on the -- usually on
5 the second order it would say Mike. And I asked
6 him, who's Mike? And he said it was -- it was Mike

7 from Elmwood.

8 Q. And did you ultimately meet Mike from Elmwood?

9 | A. Yes, I did.

10 Q. And by the way, did you ever have to come to

A. Yes, I did.
Q. And did you ever have to come to Buffalo to
collect for cigarettes from Mohamed Abuhamra?

A. Yes, I did.

Mohamed Abuhamra?

A. From the Elmwood store.

blocks away from here?

A. Yes, it is. .

Q. And approximately how many times did you
collect for cigarettes from Mohamed Abuhamra?

A. Couple times a week.

Q. Here in Buffalo?

 

Buffalo to collect for cigarettes for Mohamed Kaid? |

Q. Where did you go to collect for cigarettes for

Q. And that's right over here on Elmwood, a few

 

 

 

 
